        Case 4:05-cr-00305-SWW Document 1056 Filed 09/18/07 Page 1 of 2




                         IN THE UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF ARKANSAS

UNITED STATES OF AMERICA

v.                                             No. 4:05CR00305 SWW

JASON CHRISTOPHER CALICOTT, ET AL.

                               FINAL ORDER OF FORFEITURE

       WHEREAS, on November 27, 2006, this Court entered a Preliminary Order of

Forfeiture, ordering defendants to forfeit their interest in the following:



       A.      one Taurus 38 Special, .38 caliber revolver and ammunition, serial number
               VH38274, seized on March 18, 2004 from Jason Christopher Calicott, a/k/a
               Kool Aid, and Louis Austin Graham, and Shawn M. King in Little Rock,
               Arkansas;
       B.      one Baretta 9mm Model 92FS, serial number BER297442, seized on March 18,
               2004 from Jason Christopher Calicott, a/k/a Kool Aid, Louis Austin
               Graham, and Shawn M. King in Little Rock, Arkansas;
       C.      one Rock Island Armory .45 caliber firearm, serial number RIA914209, seized on
               March 18, 2004 from Jason Christopher Calicott, a/k/a Kool Aid, Louis
               Austin Graham, and Shawn M. King in Little Rock, Arkansas;
       D.      one Remington 870 Express 12 gauge shotgun, serial number D603902M, seized
               on March 18, 2004 from Jason Christopher Calicott, a/k/a Kool Aid, Louis
               Austin Graham, and Shawn M. King in Little Rock, Arkansas;
       E.      one Mossberg Maverick 88, 12 gauge shotgun, serial number MV59264J, seized
               on March 18, 2004 from Jason Christopher Calicott, a/k/a Kool Aid, Louis
               Austin Graham, and Shawn M. King in Little Rock, Arkansas;
       F.      one Winchester Model 70, 7mm firearm, serial number G2255410, seized on
               March 18, 2004 from Jason Christopher Calicott, a/k/a Kool Aid, Louis
               Austin Graham, and Shawn M. King in Little Rock, Arkansas;
       G.      one Glock 40 caliber handgun, serial number DUA407US, seized on April 4,
               2005, from Paul Lee Oglesby in Maumelle, Arkansas;
       H.       one Keltek 40 caliber, serial number 83048, seized on April 8, 2005 from Jason
               Christopher Calicott, a/k/a Kool Aid, in Little Rock, Arkansas;
       I.      one Davis Arms .32 caliber pistol with clip, serial number 508614, seized on
               March 18, 2004 from Jason Christopher Calicott, a/k/a Kool Aid, Louis
               Austin Graham, and Shawn M. King in Little Rock, Arkansas;
       J.      one Colt .25 caliber pistol, serial number 11045, seized on March 18, 2004 from
               Jason Christopher Calicott, a/k/a Kool Aid, Louis Austin Graham, and
               Shawn M. King in Little Rock, Arkansas;
        Case 4:05-cr-00305-SWW Document 1056 Filed 09/18/07 Page 2 of 2




        K.      one Bauer .25 caliber pistol with clip, serial number 025651, seized on March 18,
                2004 from Jason Christopher Calicott, a/k/a Kool Aid, Louis Austin
                Graham, and Shawn M. King in Little Rock, Arkansas;
        L.      one Raven .25 caliber pistol with clip, serial number 1816314, seized on March
                18, 2004 from Jason Christopher Calicott, a/k/a Kool Aid, Louis Austin
                Graham, and Shawn M. King in Little Rock, Arkansas;
        M.      one Rossi rifle/shotgun .22 caliber and .410, serial number SP487197, seized on
                March 18, 2004 from Jason Christopher Calicott, a/k/a Kool Aid, Louis
                Austin Graham, and Shawn M. King in Little Rock, Arkansas;
        N.      one Intertec Luger 9mm, Model Tec-DC9, serial number D002084, seized on
                March 18, 2004 from Jason Christopher Calicott, a/k/a Kool Aid, Louis
                Austin Graham, and Shawn M. King in Little Rock, Arkansas;
        O.      one Heritage Rough Rider .22 caliber pistol, serial number JR27755, seized on
                August 7, 2005 from Timothy Mark Ison in Little Rock, Arkansas;
        P.      a.     All money and other property that was the subject of each transaction,
                       transportation, transmission or transfer in violation of Section 1956;
                b.     All commissions, fees and other property constituting proceeds obtained
                       as a result of these violations; and
                c.     All property used in any manner or part to commit or to facilitate the
                       commission of those violations, including but not limited to: wire transfers
                       and financial institution deposits totaling approximately $ 140,000.00.

        WHEREAS, the United States caused to be published in the Arkansas Democrat Gazette,

a newspaper of general circulation, notice of this forfeiture and of the intent of the United States

to dispose of the property in accordance with the law and as specified in the Preliminary Order,

and further notifying all third parties of their right to petition the Court within thirty (30) days for

a hearing to adjudicate the validity of their alleged legal interest in the property;

        WHEREAS, no claims were filed by any persons with respect to any of the property

described herein;

        IT IS ORDERED that all right, title, and interest in all of the property set forth above is

hereby forfeited to the United States, and the United States Marshal shall dispose of such

property according to law.

        SO ORDERED this 18th day of September, 2007.          /s/Susan Webber Wright
                                                             UNITED STATES DISTRICT JUDGE

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